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                                #:2900




                        EXHIBIT "3"
      Case 2:20-cv-11064-FMO-MRW Document 151-3 Filed 10/11/21 Page 2 of 5 Page ID
                                      #:2901

Haley Aanestad

From:                               steven@lawbylg.com
Sent:                               Tuesday, September 28, 2021 5:15 PM
To:                                 Vince Finaldi; scott@lawbylg.com
Cc:                                 Courtney Pendry; Kathy Frederiksen; Alex Cunny; Haley Aanestad
Subject:                            RE: Judge Rodriguez and Judge Firmat


Hi Vince,

Sorry for the delay- we’ve followed up with our client to confirm the date, but probably won’t hear back today since it’s
after 8 pm on the East Coast. I hope to hear back in the morning.

Steven Gebelin
steven@lawbylg.com
Lesowitz Gebelin LLP
310-341-3072


From: Vince Finaldi <vfinaldi@manlystewart.com>
Sent: Tuesday, September 28, 2021 3:36 PM
To: scott@lawbylg.com
Cc: steven@lawbylg.com; Courtney Pendry <cpendry@manlystewart.com>; Kathy Frederiksen
<kfrederiksen@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Haley Aanestad
<haanestad@manlystewart.com>
Subject: RE: Judge Rodriguez and Judge Firmat

Scott and Steven,

We have to get back to Morgan. Please provide a response to the below email.

Thanks.

Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone: (949) 252-9990
Direct: (949) 943-8423
Fax: (949) 252-9991
vfinaldi@manlystewart.com




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                                      #:2902
From: Vince Finaldi
Sent: Monday, September 27, 2021 4:22 PM
To: 'scott@lawbylg.com' <scott@lawbylg.com>
Cc: steven@lawbylg.com; Courtney Pendry <cpendry@manlystewart.com>; Kathy Frederiksen
<kfrederiksen@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Haley Aanestad
<haanestad@manlystewart.com>
Subject: RE: Judge Rodriguez and Judge Firmat

I am not available on October 4, but I am willing to go see Judge Firmat. I asked Megan and she said he can do October 7
from 8-11 and 2-7 (he has a lunch meeting he can’t miss). Now, he will only do in person if everyone is vaccinated. I think
it would be good if your client was in person with him…is he vaccinated? Let me know.

Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone: (949) 252-9990
Direct: (949) 943-8423
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From: scott@lawbylg.com <scott@lawbylg.com>
Sent: Monday, September 27, 2021 4:08 PM
To: Vince Finaldi <vfinaldi@manlystewart.com>
Cc: steven@lawbylg.com; Courtney Pendry <cpendry@manlystewart.com>; Kathy Frederiksen
<kfrederiksen@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Haley Aanestad
<haanestad@manlystewart.com>
Subject: FW: Judge Rodriguez and Judge Firmat

Hello Vince, below and attached is the information on the two Spanish-speaking retired judges at ADR Services that I
referenced on our call just now.

Scott Lesowitz
Lesowitz Gebelin LLP
8383 Wilshire Boulevard, Suite 800
Beverly Hills, California 90211
310-341-3076

From: Megan Nomura <megan@adrservices.com>
Sent: Monday, September 27, 2021 12:09 PM
To: scott@lawbylg.com
Cc: steven@lawbylg.com; Zuzana Bastow <zuzana@adrservices.com>
Subject: RE: Judge Rodriguez and Judge Firmat

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                                         #:2903
Dear Mr. Lesowitz,

Thank you for contacting ADR Services, Inc. regarding this matter.

Below, please find the availability of the neutrals you requested to conduct a mediation during the week of October 4,
2021:

                                   NEUTRAL                                                         AVAILABILITY
                           Hon. Francisco F. Firmat*
                                                                              October 4
                                  $675/hour
                            Hon. Luis A. Rodriguez
                                                                              October 5, 6, 8
                                  $650/hour

Our neutrals’ Fee Schedules are attached for your reference. In addition to our neutral’s hourly rates, ADR Services, Inc.
bills a one-time non-refundable administrative fee of $250 per party. For your convenience, I have hyperlinked our
neutrals’ resumes and representative case summaries above.

*Please note that Judge Firmat is currently scheduling all matters remotely, via Zoom conference until further notice,
unless all participants are vaccinated. Please let me know if you have any questions about using the platform. Judge
Rodriguez is available to conduct the mediation either via Zoom or in person in one of our offices.

If you have any questions, please contact me. We look forward to working with you on this matter.

Kindly confirm receipt of this e-mail. Thank you.

Sincerely,
Megan Nomura

Megan Nomura, Manager
megan@adrservices.com | O: 949.863.9800 | M: 714.608.0371
19000 MacArthur Boulevard, Suite 550, Irvine, California 92612
Sign up to manage your cases anytime, anywhere with AMS »




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From: scott@lawbylg.com <scott@lawbylg.com>
Sent: Monday, September 27, 2021 11:36 AM
To: Megan Nomura <megan@adrservices.com>; Zuzana Bastow <zuzana@adrservices.com>
Cc: Theresa Nguyen <theresa@adrservices.com>; Kathleen Emma <kathleen@adrservices.com>; steven@lawbylg.com
Subject: Judge Rodriguez and Judge Firmat

Hello,

                                                                                      3
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                                      #:2904
My firm represents a defendant in a sexual assault lawsuit who is a Spanish speaker with limited ability to communicate
in English. It appears that the Honorable Francisco F. Firmat and the Honorable Luis A. Rodriguez are both retired judges
with significant civil experience and are fluent Spanish speakers. What are their availability the week of October 4 for a
mediation? Also, what are their rates?

Thank you very much,
Scott Lesowitz

Scott Lesowitz
Lesowitz Gebelin LLP
8383 Wilshire Boulevard, Suite 800
Beverly Hills, California 90211
310-755-9239




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